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                              UNITED STATES DISTRICT COURT


                                 DISTRICT OF SOUTH DAKOTA


                                       CENTRAL DIVISION



 UNITED STATES OF AMERICA,                                          3:23-CR-30053-RAL


                         Plaintiff,

                                                           ORDER ADOPTING REPORT AND
         vs.                                             RECOMMENDATION AND DENYING
                                                                  MOTION TO DISMISS
 PHILIP LAMAR NORDVOLD,

                         Defendant.




        Defendant Philip Lamar Nordvold was indicted for possession of a firearm by a prohibited

person under 18 U.S.C. §§§ 922(g)(1), 924(a)(2), and 924(d) for allegedly possessing a revolver

with an obliterated serial number after being convicted of a felony. Doc. 1. Nordvold filed a

motion to dismiss. Doc. 21, arguing that § 922(g)(1) is facially unconstitutional as applied to him

based on the Second Amendment and the Supreme Court's decision in New York State Rifle &

Pistol Ass'n V. Bruen. 142 S. Ct. 2111 (2022). Docs. 21, 22.

        Magistrate Judge Mark A. Moreno entered a Report and Recommendation for Disposition

of a Motion to Dismiss (on Second Amendment Grounds) recommending denial of the motion.

Doc. 25. Nordvold objected to the report and recommendation "in order to preserve the legal and

factual arguments presented." Doc. 29 at 1. Nordvold recognizes that precedent of the United

 States Court ofAppeals for the Eighth Circuit is against his position, but notes "should those recent
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decisions be overturned upon en banc review, like the Third Circuit did in the Range cases,^ he

asks to preserve the right to revisit these issues for future consideration." Doc. 29 at 2.

       The Eighth Circuit in United States v. Jackson. 69 F.4th 495 (8th Cir. 2023) addressed

similar arguments post-Bruen. concluding that "legislatures traditionally employed status-hased

restrictions to disqualify categories of persons from possessing firearms," and determining that

"Congress acted within the historical tradition when it enacted § 922(g)(1) and the prohibition on

possession of firearms by felons." Id, at 505. The Eighth Circuit in Jackson affirmed the denial

of a motion to dismiss raising arguments paralleling those Nordvold now makes. After Jackson.

the Eighth Circuit in United States v. Cunningham. 70 F.4th 502 (2023) rejected a defendant's

argument of entitlement to possess a firearm under the Second Amendment notwithstanding his

past felony convictions because neither of his felonies qualified as being "violent." Id at 502.

The Eighth Circuit in Cunningham characterized arguments akin to Nordvold's as "foreclosed" by

Jackson. Id. A district court is bound to apply clear precedent of its appeals court when that

precedent is on point and no intervening United States Supreme Court case casts doubt on the

ruling. See Hood v. United States. 342 F.3d 861, 864 (8th Cir. 2003). Both Jackson and

Cunningham were decided post-Bruen and are dispositive of Nordvold's challenge to the

constitutionality of § 922(g)(1).

        Therefore, it is

        ORDERED that the Report and Recommendation for Disposition ofMotion to Dismiss(on

Second Amendment Grounds),Doc.25,is adopted and that Nordvold's objection to the report and

recommendation. Doc. 29,is overruled. It is further



 ^ Range v. Att'v Gen. United States. 53 F.4th 262, 269 (3rd Cir. 2022), reh'g en hanc granted,
opinion vacated sub nom. Range v. Att'v Gen. United States. 56 F.4th 992(3rd Cir. 2023), and on
reh'g en banc sub nom. Range v. Att'v Gen. United States. 69 F.4th 96(3d Cir. 2023).
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      ORDERED that Defendant's Motion to Dismiss, Doc. 21, is denied.

      DATED this afi th day of August, 2023.

                                        BY THE COURT:




                                        ROBERTO A. LANGE
                                        CHIEF JUDGE
